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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF FLORIDA


   UNITED STATES OF AMERICA

         v.                                    Case No. 19-20450-CR-Scola

   ALEX NAIN SAAB MORAN, and
   ALVARO PULIDO VARGAS, a/k/a
   “German Enrique Rubio Salas,”

       Defendants.


                DECLARATION OF JOSÉ MANUEL PINTO MONTEIRO
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